
*418The Supreme Court affirmed the judgment of the Common Pleas on Feb. 4th, 1884, in the following opinion:
Per Curiam.
’When all the eo-partners, who were about to organize this corporation, did so; they had the right to agree on the price each should be allowed on his share of the joint property to be put in. As they constituted all the incorporators, they did not encroach on the rights of any third person. There is no evidence, nor allegation, of anything fraudulent in making the agieement, or in the organization of the corporation. Those who afterwards became stockholders cannot avoid or repudiate a previous contract honestly and fairly made. The fact that the corporation subsequently became insolvent, did not impair the validity of the contract.
Judgment affirmed.
